Case 4:21-cv-00526 Document 1-1 Filed on 02/18/21 in TXSD Page 1 of 8




                            EXHIBIT A
     Case 4:21-cv-00526 Document 1-1 Filed on 02/18/21 in TXSD Page 2 of 8
                                                                                                    12/10/2020 8:53 AM
                                                                          Marilyn Burgess - District Clerk Harris County
                                                                                               Envelope No.48814424
                                                                                                   By: Carolina Salgado
                                                                                             Filed: 12/10/2020 8:53 AM



                                       NO.

RASHANETTE GUIDRY,                            §    IN THE DISTRICT COURT
BRASHANNA LEDET AND ICAVION                   §
LEDET                                         §
Plaintiffs,                                   §
                                              §
V.                                            §                JUDICIAL DISTRICT
                                              §
JOHN DOE and                                  §
AIRGAS USA,LLC                                §
Defendant.                                    §    OF HARRIS COUNTY,TEXAS

                           PLAINTIFFS'ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COME Rashanette Guidry, Brashanna Ledet and Kavion Ledet, hereinafter called

Plaintiffs, complaining of and about John Doe and Airgas USA, LLC, hereinafter called

Defendants, and for cause of action show unto the Court the following:

                         DISCOVERY CONTROL PLAN LEVEL

       1.     Plaintiffs intend that discovery be conducted under Discovery Level 3.

                                 PARTIES AND SERVICE

       2.     Plaintiff, Rashanette Guidry, is an Individual whose address is 14144 Mueschke

Rd. Apt. 3202, Cypress, Texas 77433.

       3.     Plaintiff, Brashanna Ledet, is an Individual whose address is 14144 Mueschke Rd.

Apt. 3202, Cypress, Texas 77433.

       4.     Plaintiff, ICavion Ledet, is an Individual whose address is 14144 Mueschke Rd.

Apt. 3202, Cypress, Texas 77433.

       5.     Defendant John Doe, an individual and employee or agent of Airgas USA,LLC,

is a resident of Texas and may be served with process at the following address: 1999 Bryan
    Case 4:21-cv-00526 Document 1-1 Filed on 02/18/21 in TXSD Page 3 of 8




Street, Suite 900, Dallas, TX. Service of said Defendant as described above can be effected by

personal delivery.

       6.      Defendant Airgas USA, LLC, a limited liability company, may be served by and

through its registered agent, CT Corporation System, who has agreed to accept service at 1999

Bryan Street, Suite 900, Dallas, TX. Service of said Defendant as described above can be

effected by certified mail.

                                JURISDICTION AND VENUE

       7.      The subject matter in controversy is within the jurisdictional limits ofthis court.

       8.      Plaintiffs seek monetary relief over $1,000,000.

       9.      This court has jurisdiction over the parties because Defendants are Texas

residents.

       10.     Venue in Harris County is proper in this cause under Section 15.002(a)(1) of the

Texas Civil Practice and Remedies Code because all or a substantial part of the events or

omissions giving rise to this lawsuit occurred in this county.

                                             FACTS

       11.     On January 28, 2020, Defendant John Doe was driving a truck for Airgas USA,

LLC traveling west bound on Interstate Highway 610 at the 5800 block of South Loop East.

       12.     Plaintiffs Rashnette Guidry, Brashanna Ledet, and Kavion Ledet were traveling in

the same direction as the Defendant.

       13.     Defendant, John Doe, was in the lane to the right of the plaintiffs right just ahead

ofthem.

       14.     While the Defendant was traveling in the same direction of the plaintiffs, a gas

tank or storage vessel became detached from his truck and struck the font passenger side
    Case 4:21-cv-00526 Document 1-1 Filed on 02/18/21 in TXSD Page 4 of 8




windshield and causing it to shatter.

       15.     The Defendant fled the scene, but the Plaintiff, Rashnette Guidry, was able to

identify a part ofthe license plate ofthe vehicle defendant John Doe was driving.

       16.     In the spot where the gas tank or storage vessel struck, glass flew into the car on

the passenger side and into the eyes of Plaintiff, Brashanna Ledet.

       17.         Brashanna Ledet was transported to the hospital by ambulance when EMS was

unable to flush the glass from her eyes completely. She later sought medical treatment from

private physicians and facilities, incurring expenses for which they are personally responsible.

       18.     All of the Plaintiffs suffered great mental, emotional and psychological ham due

to the accident.

                                  PLAINTIFFS'CLAIM OF
                              NEGLIGENCE AGAINST JOHN DOE


       19.     John Doe had a duty to exercise the degree of care that a reasonably careful

person would use to avoid harm to others under circumstances similar to those described herein.

       20.     Plaintiffs' injuries were proximately caused by John Doe's negligent, careless and

reckless disregard of said duty.

       .21.    The negligent, careless and reckless disregard of duty of John Doe consisled of;

but is not limited to, the following acts and omissions:

               A.        In that John Doe failed to keep a proper lookout for Plaintiffs' safety that
                         would have been maintained by a person of ordinary prudence under the
                         same or similar circumstances;
               R.        In that John Doe failed lo properly secure items to his vehicle in a safe
                         manner that would have occurred by a person of ordinary prudence under
                         the same or similar circumstances.
    Case 4:21-cv-00526 Document 1-1 Filed on 02/18/21 in TXSD Page 5 of 8




                           PLAINTIFFS'CLAIM OF
                RESPONDEAT SUPERIOR AGAINST AIRGAS USA,LLC

       22.     At the time ofthe occurrence of the act in question and immediately prior thereto,

John Doc was acting in his capacity as an agent, servant, representative and/or employee and

within the course and scope ofemployment for Defendant Airgas USA,LLC.

       23.     At the time ofthe occurrence ofthe act in question and immediately prior thereto,

John Doe was engaged in the furtherance of Defendant Airgas USA,LLC's business.

       24.     At the time of the occurrence ofthe act in question and immediately prior thereto,

John Doe was engaged in accomplishing a task for which Airgas USA,LLC was employed.

       25.     Plaintiffs invoke the doctrine of Respondent Superior as against Defendant Airgas

USA, LLC and it should be held vicariously responsible for the acts and omission of its agent

and/or employee and/or servant.


                   DAMAGES FOR PLAINTIFF,RASHANETTE GUIDRY

       26.     As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, Rashanette Guidry was caused to suffer injury, and to incur the following damages:

               A.     Reasonable medical care and expenses in the past. These expenses were
                      incurred by Plaintiff, Rashanette Guidry for the necessary care and
                      treatment of the injuries resulting from the accident complained of lielein
                      and such charges are reasonable and were usual and customary charges for
                      such services in Harris County, Texas;

              B.      Reasonable and necessary medical care and expenses which will in all
                      reasonable probability be incurred in the future;

              C.      Loss of enjoyment;

              D.      Duties under duress;

              E.      Mental anguish in the past; and

              F.      Mental anguish in the future.
    Case 4:21-cv-00526 Document 1-1 Filed on 02/18/21 in TXSD Page 6 of 8




                      DAMAGES FOR PLAINTIFF,BRASHANNA LEDET

       27.     As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, Brashanna Ledet was caused to suffer injury, and to incur the following damages:

               A.     Reasonable medical care and expenses in the past. These expenses were
                      incurred by Plaintiff, Brashanna Ledet for the necessary care and
                      treatment of the injuries resulting from the accident complained of herein
                      and such charges are reasonable and were usual and customary charges for
                      such services in Harris County, Texas;

               B.     Reasonable and necessary medical care and expenses which will in all
                      reasonable probability be incurred in the future;

               C.     Physical pain and suffering in the past;

               D.     Physical pain and suffering in the future;

               E.     Loss ofenjoyment;

               F.     Mental anguish in the past; and

               G.     Mental anguish in the future.


                      DAMAGES FOR PLAINTIFF,KAVION LEDET

       28.     As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, Kavion Ledet was caused to suffer injury, and to incur the following damages:

               A.     Reasonable medical care and expenses in the past. These expenses were
                      incurred by Plaintiff, Kavion Ledet for the necessary care and treatment of
                      the injuries resulting from the accident complained of herein and such
                      charges are reasonable and were usual and customary charges for such
                      services in Harris County, Texas;

               B.     Reasonable and necessary medical care and expenses which will in all
                      reasonable probability be incurred in the future;

               C.     Loss of enjoyment;

              D.      Mental anguish in the past; and

               E.     Mental anguish in the future.
    Case 4:21-cv-00526 Document 1-1 Filed on 02/18/21 in TXSD Page 7 of 8




                                REQUEST FOR DISCLOSURE

       29.     Pursuant to Rule 194.1 et seq. of the Texas Rules of Civil Procedure, Plaintiffs

hereby request Defendants to disclose the information or material described in Rule 194.2 within

fifty(50)days ofthe service ofthis request at the office ofthe undersigned.



                                  PRESERVING EVIDENCE

       30.     Plaintiffs hereby request and demand that Defendants preserve and maintain all

evidence pertaining to any claim or defense related to the incident made the basis of this lawsuit

or damages resulting therefrom, including statements, photographs, videotapes, audiotapes,

surveillance or security tapes or information, business or medical records, incident reports,

telephone call slips or records, estimates, invoices, checks, measurements, correspondence,

facsimiles, email, voicemail, text messages, any evidence involving the incident in question, and

any electronic images or information related to the referenced incident or damages.

       31.     Failure to maintain such items will constitute "spoliation" of evidence.


                                            PRAYER

       WHEREFORE,PREMISES CONSIDERED,Plaintiffs, Rwlanette Guidry, Brashanna

Ledet and Kavion Ledet, respectfully pray that the Defendant be cited to appear and answer

herein, and that upon a fmal hearing of the cause,judgment be entered for the Plaintiffs against

Defendant for damages in an amount within the jurisdictional limits of the Court; together with

pre-judgment interest(from the date ofinjury through the date ofjudgment) at the maximum rate

allowed by law; post-judgment interest at the legal rate, costs ofcourt; and such other and further

reliefto which the Plaintiffs may be entitled at law or in equity.
Case 4:21-cv-00526 Document 1-1 Filed on 02/18/21 in TXSD Page 8 of 8




                               Respectfully submitted,

                               DORAN & CAVVTHORNE P.L.L.C.




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